        Case 3:16-cr-00051-BR     Document 2697    Filed 04/22/19   Page 1 of 2

                                                                           FILED
                       UNITED STATES COURT OF APPEALS                       APR 22 2019

                                                                        MOLLY C. DWYER, CLERK
                              FOR THE NINTH CIRCUIT                      U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                        No.   17-30242, 19-30077

                Plaintiff-Appellee,               D.C. No.
                                                  3:16-cr-00051-BR-10
 v.                                               District of Oregon,
                                                  Portland
 DUANE LEO EHMER,

                Defendant-Appellant.              ORDER

 UNITED STATES OF AMERICA,                        No.   17-30246, 19-30077

                Plaintiff-Appellee,               D.C. No.
                                                  3:16-cr-00051-BR-22
 v.                                               District of Oregon,
                                                  Portland
 DARRYL WILLIAM THORN,

                Defendant-Appellant.

 UNITED STATES OF AMERICA,                        No.   18-30025, 19-30077

                Plaintiff-Appellee,               D.C. No. 3:16-cr-00051-BR-26
                                                  District of Oregon,
 v.                                               Portland

 JAKE RYAN,

                Defendant-Appellant.



MH/Appellate Commissioner
        Case 3:16-cr-00051-BR     Document 2697    Filed 04/22/19   Page 2 of 2




 UNITED STATES OF AMERICA,                        No.   18-30042, 19-30077

                Plaintiff-Appellee,               D.C. No. 3:16-cr-00051-BR-9
                                                  District of Oregon,
 v.                                               Portland

 JASON PATRICK,

                Defendant-Appellant.


Before: Peter L. Shaw, Appellate Commissioner.

       Appellants’ motion (Dkt. Entry No. 16 in 17-30242, Dkt. Entry No. 2 in 19-

30077) is granted to consolidate their new joint appeal number 19-30077 with their

previously consolidated individual appeals, numbers 17-30242, 17-30246, 18-

30025, and 18-30042. The Clerk shall change this court’s docket to so reflect. The

previously established briefing schedule remains in effect.




MH/Appellate Commissioner                 2                                       17-30242
